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In order to carry out the provisions of the Constitution, the following Bylaws are

adopted for the government of the Convention:

> 1. Convention Session

> 2. Presentation of Outside Causes
> 3. Convention Site

> 4. Exhibits

> 5. Book of Reports

> 6. Convention Annual

> 7. Bulletin

v 8. Messenger Credentials, Registration Committee, and Credentials
Committee:

A. Messenger Credentials: Each person elected by a church cooperating with the
Southern Baptist Convention as a messenger to the Southern Baptist
Convention shall be registered as a messenger to the Convention upon
presentation of proper credentials. Credentials shall be presented by each
messenger, in person, at the Convention registration desk and shall be in the

following form:

1. Acompleted, properly authorized, official Southern Baptist Convention
registration document, certifying the messenger’s election in accordance
with Article II. Composition, of the Constitution of the Southern Baptist
Convention; but if the messenger does not have the messenger registration

document,

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2. A letter from the messenger’s church, signed by the pastor, clerk or
moderator of the church, certifying the messenger’s election in accordance
with Article III. Composition, of the Constitution of the Southern Baptist

Convention; or

3. Some other document (which may include a fax, email, or other physical or
electronically transmitted document) from the messenger’s church which
is deemed reliable by the Registration Committee or qualifies under
guidelines approved by the registration secretary and the Registration

Committee.

B. Registration Committee: The president of the Convention, in consultation

with the vice presidents, shall appoint, at least thirty (30) days before the
annual session, a Registration Committee to serve at the forthcoming sessions
of the Convention. The registration secretary shall convene the Registration
Committee at least one day prior to the annual meeting to supervise the
registration of messengers, to oversee the operations of the registration desk,
and to rule upon any questions which may arise in registration concerning the

credentials of messengers.

. Credentials Committee: The Credentials Committee, a standing committee,

shall be composed of the registration secretary, the chair of the Executive
Committee, three members nominated by the Executive Committee, and four
members nominated by the Committee on Nominations. Committee members
may serve simultaneously on another board, institution, commission, or
committee of the Convention or as a member of the Executive Committee.
The names of the Executive Committee chair and the members nominated by
the Executive Committee shall appear in the Committee on Nomination’s
report to the annual meeting, along with the names of members being
nominated by the Committee on Nominations, for election by the Convention.
Members other than the registration secretary and the Executive Committee
chair shall serve a term of three (3) years. The committee shall elect its own
chair. Members of the Credentials Committee shall be divided into three
groups of three persons each with the registration secretary and the Executive
Committee chair assigned to different groups. The term of office of one of the
three groups shall expire each year. A member’s term of office shall begin and

expire at the conclusion of the Convention’s annual meeting. Members having

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served one full term of three (3) years shall not be eligible for re-election until
as much as one (1) year has elapsed after the last term of service has
concluded. Vacancies occurring on the committee between annual meetings
shall be filled by the Executive Committee, provided that any vacancy shall be

filled only until the next annual meeting.

1. The Credentials Committee shall meet on the call of its chair or of any two
of its members after reasonable notice of the time and place for the
meeting. Meetings and reports of the committee may be private or public
in order to maintain the degree of confidentiality which is appropriate
under the circumstances to serve the best interests of the Convention and
individual churches. When practical, meetings shall be held in conjunction
with meetings of the Executive Committee or electronically. The
committee may meet by teleconference, videoconference, or any other
lawful means. Appropriate staff and legal assistance shall be provided for

the Credentials Committee by the Executive Committee.

2. When, during an annual meeting, an issue arises whether a church is in
cooperation with the Convention, the Credentials Committee shall
consider the matter and review any information available to it. The
committee shall either: (a) consider the question in the manner described
in section (3)a below and, when prepared, recommend any action to the
Executive Committee, in which case messengers from the church shall be
seated pending any action by the Executive Committee; or (b) at the
earliest opportunity, recommend to the Convention whether the church
should be considered a cooperating church. The Convention shall
immediately consider the committee’s recommendation. One
representative of the church under consideration and one representative
of the Credentials Committee shall be permitted to speak to the question,
subject to the normal rules of debate. When debate is concluded, the
Convention may decide whether the church is a cooperating church or
refer the matter to the Executive Committee for further review and a
decision. Unless the Convention decides that the church is not a
cooperating church, messengers from the church shall be registered and

seated in accordance with the Convention’s rules.

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en an issue arises between annual meetings whether a church is in

peration with the Convention, the Credentials Committee shall

consider the matter and review any information available to it.

a.

b.

If the committee forms the opinion that a church is not in friendly
cooperation with the Convention as described in Article II.
Composition, of the Constitution, the committee shall submit to the
Executive Committee a report stating that opinion and the
committee’s reasons for its opinion. The Executive Committee shall, at
its next meeting, consider the report of the Credentials Committee and
determine whether the church is in cooperation with the Convention.
The Executive Committee’s decision shall be final unless the church
appeals the decision to the Convention during the next annual

meeting.

A church which has been found not to be in cooperation may appeal
the decision to the Convention by submitting a written appeal to the
chair of the Credentials Committee at least 30 days prior to the
Convention’s annual meeting. The Credentials Committee chair shall
immediately notify the Credentials Committee, the chair of the
Committee on Order of Business, and the President that an appeal to

the Convention has been lodged.

. The registration secretary shall notify the Convention of the appeal in

the initial registration report to the Convention.

. The Convention shall consider the appeal during a time established for

miscellaneous business on the afternoon of the first day of the
Convention. The question before the messengers will be “Shall the
decision of the Credentials Committee and the Executive Committee
that [name of the church in question] is not in cooperation with the
Southern Baptist Convention be sustained?” One representative of the
church under consideration and one representative of the Credentials
Committee or Executive Committee shall be permitted to speak to the
question, subject to the normal rules of debate. When debate is
concluded, the Convention shall vote whether to sustain the Executive

Committee’s ruling. If the ruling of the Executive Committee is

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reversed, messengers from the church shall immediately be registered

and seated in accordance with the Convention’s rules.

4. If a church which has been found not to be in cooperation with the
Convention addresses the issues which led to that finding, it may apply to
the Credentials Committee for a reconsideration of its status. If the
circumstances warrant, the Credentials Committee may recommend to the
Executive Committee that the church be once again considered a

cooperating church.

5. The committee may make inquiries of a church, but shall never attempt to
exercise any authority over a church through an investigation or other

process that would violate Article IV of the Constitution.
> 9. Address of Welcome
> 10. Election of Officers and Voting
> 11. Parliamentary Authority and Parliamentarians
> 12. Ministry Leaders
> 13. Memorial Services
> 14. Entities and Auxiliary of the Convention
> 15. Committee on Nominations
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> 20. Committee on Resolutions

> 21. Committee on Order of Business

> 22. Notification of Committees

> 23. The Great Commission Council

> 24. Ministry Statements

> 25. New Enterprises and Abolishing of Entities

>» 26. Procedures

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> 30. Representation From Qualified States and Territories
> 31. Adoption of Reports

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